


  PER CURIAM.
 

  Petitioner is hereby granted a belated appeal of the judgment and sentence rendered on January 15, 2009, in Duval County Circuit Court case number 16-2008-CF-9337-AXXX-MA. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
 

  PETITION GRANTED.
 

  BENTON, C.J., LEWIS and WETHERELL, JJ., concur.
 
